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Counsel for Highland Capital Management, L.P.


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
                                                             §
In re:
                                                             §   Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                             §   Case No. 19-34054-sgj11
                                                             §
                                 Debtor.
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                             §
                                                             §   Adversary Proceeding No.
Plaintiff,
                                                             §
                                                             §   21-03000-sgj
vs.
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT FUND
                                                             §
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,
                                                             §
HIGHLAND INCOME FUND, NEXPOINT

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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STRATEGIC OPPORTUNITIES FUND,
NEXPOINT CAPITAL, INC., AND CLO
HOLDCO, LTD.,

                            Defendants.

                     NOTICE OF CANCELLATION OF HEARING

       PLEASE TAKE NOTICE that the hearing on Plaintiff’s Emergency Motion for a

Temporary Restraining Order and Preliminary Injunction against Certain Entities Owned and/or

Controlled by Mr. James Dondero [Docket No. 9] scheduled for January 13, 2021 at 9:30 a.m.

(Central Time) in the above-captioned adversary proceeding has been CANCELLED.

                         [Remainder of Page Intentionally Left Blank]




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Dated: January 12, 2021.           PACHULSKI STANG ZIEHL & JONES LLP
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                                   -and-
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